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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION



 THE DEMOCRATIC PARTY OF
 GEORGIA, INC.,
                PLAINTIFF,
 V.
 ROBYN A. CRITTENDEN, in her                       Civ. Act. No. 1:18-cv-5443-AT
 official capacity as interim
 SECRETARY OF STATE OF THE
 STATE OF GEORGIA,
                DEFENDANTS.


            PROPOSED ORDER GRANTING PLAINTIFFS’
        EMERGENCY MOTION FOR PRELIMINARY INJUNCTION

       This matter is before the Court on the Emergency Motion for Preliminary

Injunction of Plaintiff Democratic Party of Georgia, Inc. Upon considering the

Emergency Motion and supporting authorities, the responses from Defendant,

hearing testimony and argument, and the evidence and pleadings of record, the

Court finds that Plaintiff is substantially likely to succeed on the merits of its

claims, that its will be irreparably harmed if this Emergency Motion is not granted,

that the balance of equities tip in Plaintiff’s favor, and that entering an injunction is

in the public interest.


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       The Court accordingly GRANTS the Emergency Motion and issues the

relief set forth as follows:

   A. The Court DECLARES that all absentee mail-in ballots received by Georgia

       county election superintendents or registrars that are postmarked by

       December 4, 2018, and that are received within the three-day period

       following the Runoff Election, if proper in all other respects, shall be valid

       ballots and shall be counted and included in the certified election results;

   B. The Court ENJOINS Defendant Crittenden from certifying the statewide

       Runoff Election results until she has confirmed that each county’s returns

       include the counts for absentee ballots postmarked by December 4, 2018,

       received within the three-day period following the Runoff Election, and

       proper in all other respects.

IT IS SO ORDERED, this ___ day of ____________, 2018.

                                               ________________________
                                               U.S. District Court Judge




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